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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

Inre: NEURONTIN MARKETING, SALES PRACTICES,
AND PRODUCTS LIABILITY LITIGATION

MDL Docket No. 1629
Master File No. 04-10981

Judge Patti B. Saris

HARDEN MANUFACTURING CORPORATION; . Magistrate Judge Leo T.
LOUISIANA HEALTH SERVICE INDEMNITY COMPANY, — . Sorokin

dba BLUECROSS/BLUESHIELD OF LOUISIANA:

INTERNATIONAL UNION OF OPERATING ENGINEERS,

LOCAL NO. 68 WELFARE FUND; ASEA/AFSCME LOCAL

52 HEALTH BENEFITS TRUST; GERALD SMITH; and

LORRAINE KOPA, on behalf of themselves and all others

similarly situated, v. PFIZER INC. and WARNER-LAMBERT

COMPANY.

THE GUARDIAN LIFE INSURANCE COMPANY OF
AMERICA v. PFIZER INC, and

AETNA, INC. v. PFIZER INC.

ASSENTED-TO MOTION FOR LEAVE TO FILE A 37-PAGE MEMORANDUM OF
LAW IN SUPPORT OF DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

Pursuant to Local Rule 7.1(b)(4), defendants Pfizer Inc. and Warner-Lambert Company
(“defendants”) respectfully request leave of the Court to file a memorandum of law in support of
their motion for summary judgment in excess of the 20-page limit set forth in Rule 7.1(b)(4).
The motion for summary judgment involves complex legal and factual issues that cannot be
adequately addressed in 20 pages. A copy of defendants’ proposed memorandum is attached

hereto as Exhibit A.
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Defendants cannot adequately address the many important issues raised by the Motion for
Certification within the 20 pages permitted under Local Rule 7.1. Plaintiffs have no objection to
defendants’ filing of a 37-page memorandum.

WHEREFORE, defendants respectfully request that the Court permit them to file a 35-
page memorandum in support of their motion for summary judgment.

Dated: March 2, 2009 DAVIS POLK & WARDWELL
By: /s/ James P. Rouhandeh
James P. Rouhandeh
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CERTIFICATE OF SERVICE

I hereby certify that this document filed through the ECF system has been served
pursuant to Case Management Order #3 on March 2, 2009.

/s/David B. Chaffin
